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                Exhibit M
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                                                                                          Page 1
                            UNITED STATES DISTRICT COURT

                          SOUTHERN DISTRICT OF NEW YORK

            ------------------------------                    )

            SECURITIES AND EXCHANGE                           )

            COMMISSION,                                       )

                                   Plaintiff,                 )Case No.

                vs.                                           )20 CV 10832 (AT)

            RIPPLE LABS, INC.; BRADLEY                        )

            GARLINGHOUSE, and CHRISTIAN A.                    )

            LARSEN,                                           )

                                   Defendants.                )

            ------------------------------                    )



                DEPOSITION OF WILLIAM HAROLD HINMAN, JR.

                                      WASHINGTON, D.C.

                                        JULY 27, 2021




            REPORTED BY:       Tina Alfaro, RPR, CRR, RMR

            ______________________________________________________

                                      DIGITAL EVIDENCE GROUP

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                                                                                       Page 125
   1        of this speech?

   2                   MR. TENREIRO:              I object to form.

   3             A.    Yes.

   4             Q.    And you prepared this speech as part of

   5        your duties as the director of the division of

   6        corporate finance, correct?

   7             A.    Again, I'm not sure I had a duty to

   8        provide a speech, but I did do this speech while I

   9        was the director, yes.

 10              Q.    You prepared this speech as part of the

 11         services you provided to the Securities and

 12         Exchange Commission in your capacity as the

 13         director of the division of corporate finance,

 14         correct?

 15              A.    I gave this speech while I was the

 16         director of the division of corporation finance.

 17              Q.    And you knew that this exhibit, we're now

 18         talking about Exhibit 10, the document, was posted

 19         on the SEC's Website, correct?

 20              A.    Yes.

 21              Q.    And you understood -- withdrawn.

 22                    And did you understand prior to the time



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                                                                                       Page 132
   1        a whole host of things covered here.

   2             Q.    Did you think this -- withdrawn.

   3                   Did you believe this speech provided

   4        clarity to the market with respect to the

   5        application of the federal securities laws to

   6        digitalize the transactions?

   7                   MR. TENREIRO:              So same instruction on

   8        deliberative process and also object to form.

   9             A.    I think it provided clarity as to how I

 10         was looking at these issues.

 11              Q.    And did you have an -- withdrawn.

 12                    Did you believe that was new information

 13         to the marketplace?

 14                    MR. TENREIRO:              Same instruction.

 15              A.    I think how I felt about things or the

 16         framework I had in my mind was, you know, not --

 17         wasn't something I had published in a speech

 18         earlier.

 19              Q.    And what about -- what are the things or

 20         the framework that you had in your mind that you

 21         communicated in the speech that you had not

 22         published or stated earlier?



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                                                                                        Page 233
   1        what it says.         That was a statement you made under

   2        oath, correct?

   3                   MR. TENREIRO:              Object to form.              Go ahead.

   4             A.    Yes.

   5             Q.    And when you said your remarks were yours

   6        alone, what did you mean by that?

   7             A.    That these would be my remarks.                              We as a

   8        very standard practice whenever an SEC official

   9        speaks provide a statement to that effect.

 10              Q.    Well, were these statements your

 11         statements alone?

 12                    MR. TENREIRO:              These statements, Reid?

 13                    MR. FIGEL:           I'm sorry.           In Exhibit 10.

 14              A.    The speech reflects my thoughts.                             I'm

 15         comfortable with the speech reflecting my thinking.

 16              Q.    But were they your statements in your

 17         individual capacity alone?

 18                    MR. TENREIRO:              Object to form.

 19              A.    They are intended to be a speech of my

 20         thoughts in the space.                Other people may share

 21         similar views.

 22              Q.    If I could direct your attention to page 4



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                                                                                       Page 267
   1             Q.    And Mr. Bartels is from the division of

   2        investment management?

   3             A.    That's right.

   4             Q.    And you distributed your speech to SEC

   5        employees in each of those divisions, correct?

   6                   MR. TENREIRO:              Object to form.

   7             A.    Yes.

   8             Q.    Did you circulate the draft of your speech

   9        to enable you to get reactions from these

 10         individuals as to the content of your speech?

 11                    MR. TENREIRO:              Just answer yes or no for

 12         now, and then we can take it from there.

 13              A.    Yes.

 14              Q.    Do you recall whether the e-mail had text

 15         in it, the cover e-mail?

 16              A.    I don't recall.

 17              Q.    Do you recall in general what you

 18         specifically asked of the recipients of this e-mail

 19         to do in response to the speech, the draft of the

 20         speech?

 21                    MR. TENREIRO:              Yes or no, please.

 22              A.    No.



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                                                                                       Page 268
   1             Q.    In substance were you asking them to

   2        review the speech for content?

   3                   MR. TENREIRO:              Yes or no.

   4             A.    I don't recall the substance of the

   5        e-mail.    So it's hard to know.

   6             Q.    Do you recall receiving a response from

   7        any of the recipients to your e-mail?

   8             A.    I don't recall specifically receiving

   9        them, but I'm sure many offered comments.

 10              Q.    Do you recall any of the comments you

 11         received from anyone in response to your June 4th,

 12         2018 e-mail?

 13              A.    Not specifically.

 14              Q.    Do you recall generally that you received

 15         edits to the draft of your speech?

 16              A.    I believe so.

 17              Q.    Do you recall any of the edits?

 18              A.    No.

 19              Q.    Based on the responses you received, did

 20         you form an understanding in your own mind that the

 21         substance of your remarks was not inconsistent with

 22         any existing or contemplated policy of any of the



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